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                  IN THE UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

                                                             Case No.: 0:22-cr-60028-WPD-1
  UNITED STATES OF AMERICA,

                      Plaintiff,

  vs.

  LUKE JOSELIN,

                 Defendant.
  ____________________________________________/

          DEFENDANT’S SECOND MOTION TO CONTINUE TRIAL

        The Defendant Luke Joselin, by and through undersigned counsel

  respectfully files this Motion for Continuance of Trial presently set to begin on

  August 15, 2022. The Defendant is requesting a continuance to a date of August

  22, 2022, and offers the following in support of this motion.:

        1. The Defendant Luke Joselin is charged by Indictment with one count of

           conspiracy to commit wire fraud, in violation of 18 U.S.C § 1349; nine

           counts of wire fraud, in violation of 18 U.S.C. § 1343; and two counts

           of aggravated identity theft, in violation of 18 U.S.C. § 1028

           A(a)(1).

        2. The Defendant was arraigned on March 2, 2022. DE4. On June 3, 2022,

           Defense filed a Notice of Appearance in this case. DE24. On June 3,
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          2022, The Court entered an Order continuing the Trial to August 15,

          2022. DE29.

       3. The Defense counsel has currently begun treatment for COVID-19 and

          therefore seeks a continuance of the August 15, 2022, trial date and due to

          the sensitive nature of the discovery we are requesting additional time to

          prepare for trial.

       4. The Defendant is also requesting that the Calendar Call date of August 12,

          2022, be moved forward to either August 9, 2022, or August 10, 2022, in

          the afternoon, to resolve any pending issues.

       5. On July 27, 2022, defense counsel contacted Assistant United States

          Attorney Kiran Bhat about this motion for a continuance. Attorney Bhat

          advised that the government has objections to defense Motion to Continue

          the Trial. Attorney Bhat advised that the government has no objections to

          defense’s request to move the Calendar Call Hearing forward.


        WHEREFORE, Defense is respectfully requesting that the Court grant this

  motion to continue trial from August 15, 2022, to August 22, 2022, and to move

  the Calendar Call Hearing forward to either August 9, 2022, or August 10, 2022, in

  the afternoon.


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  Date: July 29, 2022

                           CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on July 29, 2022, I electronically filed the
  foregoing which will send a notice of electronic filing to the following:

  The United States Attorney’s Office
  Southern District of Florida
  500 S. Australian Ave.
  West Palm Beach, FL 33041

  Service sent Electronically via Email



                                                                  Respectfully Submitted,

                                                     THE DAVIS LEGAL CENTER
                                                             /s/ Dameka L. Davis, Esq.
                                                                 Dameka L. Davis, Esq.
                                                              Florida Bar No.: 0110587
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                                                           Counsel for the Defendant,
                                                                           Luke Joselin




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